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 9                                 UNITED STATES DISTRICT COURT
10                              NORTHERN DISTRICT OF CALIFORNIA
11                                      SAN FRANCISCO DIVISION
12
     UNITED STATES OF AMERICA,           )                  No. CR- 06-0316 MHP
13                                       )
           Plaintiff,                    )
14                                       )
        v.                               )
15                                       )                  [PROPOSED] SPEEDY TRIAL ORDER
     STANLEY JAMES PRYOR, JR., et al.,   )
16                                       )
                   Defendants,           )
17   ___________________________________ )
18      GOOD CAUSE APPEARING the Court finds this case complex under 18 U.S.C.
19   §3161(h)(8)(A) and B(i)(ii). The case involves approximately six overlapping months of
20   electronic surveillance on seven separate lines covering four different subject’s cellular
21   telephones. Many of the conversations were intercepted using the “Push to Talk” feature on the
22   Nextel phone, increasing the number of conversations counsel will have to review. A portion of
23   the conversations are in Spanish and a portion are in Tongan. The indictment contains
24   allegations against nineteen defendants covering criminal activity over approximately one year in
25   time. Over two thousand pages of discovery have been made available and compact discs
26   containing hundreds of hours of conversations have been provided. The Court finds that the case
27   is so unusual and complex, due to the number of defendants and the nature of the prosecution
28   that it is unreasonable to expect adequate preparation for pretrial proceedings or for the trial itself

     SPEEDY TRIAL ORDER                                     1
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 1   within the time limits established under Title 18 U.S.C. § 3161(h)(8)(A) and (B)(ii)and (iv).
 2      In addition, time is excluded for the following reasons: because defendants are being
 3   transported from the districts of Hawaii and Mississippi, time is excluded under Title 18 U.S.C. §
 4   3161 (h)(1)(H); because there are pending motions to detain the defendants and several
 5   defendants are not yet before the district court, time is also excluded pursuant to 18 U.S.C. §
 6   3161 (h)(1)(F); and because several of the defendants have stated that they intend to hire private
 7   counsel and need time to arrange representation, time is also excluded under 18 U.S.C. § 3161
 8   (h)(8)(B)(iv).
 9      The court finds specifically that the ends of justice are best served through the continuance
10   and the need for effective preparation and other reasons cited herein outweigh the best interest of
11   the defendants and the public in a speedy trial.
12      Accordingly, IT IS HEREBY ORDERED that the time period between May 15, 2006 and
13   May 30, 2006 is excluded from calculations pursuant to 18 U.S.C. §3161(h)(8)(A) and B(i),(ii),
14   and iv; § 3161 (h)(1)(H);18 U.S.C. § 3161 (h)(1)(F); and 18 U.S.C. § 3161 (h)(8)(B)(iv).
     DATED: June 26, 2006                                         ISTRIC
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               June 30, 2006                       HON. MARILYN HALL PATEL
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17                                                 UNITED STATES DISTRICT COURT JUDGE      RT
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     SPEEDY TRIAL ORDER                                      2
